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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

 MELANIE NICOLE MOORE,

       Plaintiff,

 v.                                                   Case No: 8:20-cv-2184-MSS-SPF

 POOCHES OF LARGO, INC. and
 LUIS MARQUEZ,

       Defendants.



                          FLSA SCHEDULING ORDER
       Pursuant to Fed. R. Civ. P. 16, the Court finds it necessary to implement a

 schedule tailored to meet the particular circumstances of this case which is based on

 the Fair Labor Standards Act (“FLSA”). Therefore, consistent with the just, speedy

 and inexpensive administration of justice (Fed. R. Civ. P. 1), it is

       ORDERED that the provisions of Rule 26 (a)(1) and Local Rule 3.02(a)(2) and

 (b) concerning the initial disclosures and filing of a case management report are hereby

 waived in this case. Instead, the parties shall comply with the following schedules.

       1.     No later than fourteen (14) days from the date of this Order Plaintiff shall

 answer the Court's Interrogatories (attached to this Order) under oath or penalty of

 perjury, serve a copy on Defendant, and file same with the Court.

       2.     No later than fourteen (14) days after the Plaintiff files an answer to the

 Court’s interrogatories, the parties shall serve upon each other (but not file) copies of

 the following:



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        Plaintiff1      All documents in Plaintiff's possession, custody or control that
                        pertain to the unpaid wages claimed in the Complaint.

        Defendant: All time sheets and payroll records in Defendant's possession,
                   custody or control that pertain to work performed by Plaintiff
                   during the time period for which Plaintiff claims unpaid wages.

        3.      In collective actions, an exchange of documents as referenced in

 Paragraph 1 shall occur with respect to opt-in Plaintiffs who join the action prior to

 the dissemination of a court-approved opt-in notice. Said exchange of documents shall

 occur within twenty-one (21) days of their filing of opt-in notices with this Court, and

 such opt-in Plaintiffs shall thereafter file and serve their respective answers to the

 Court's Interrogatories within an additional twenty-one (21) days.

        4.      No later than twenty-eight (28) days after the parties exchange all

 required documents as outlined in paragraph 2, counsel for Plaintiff and Defendant

 shall meet and confer in person in a good faith effort to settle all pending issues,

 including attorneys' fees and costs.2 The parties, including a representative of each

 corporate party with full settlement authority, shall be available by telephone during

 the conference to consider and approve any settlement negotiated by counsel. Counsel

 shall have full authority to settle, and shall set aside sufficient time for a thorough,

 detailed, and meaningful conference that is calculated to fully resolve the case by

 agreement.

        5.      No later than fourteen (14) days after the settlement conference, counsel

 shall jointly file a Report Regarding Settlement that notifies the Court whether: 1.) the




        1
          If there is more than one plaintiff or defendant, the singular reference to plaintiff or
 defendant shall include plural.
        2
          In the case of an individual party who is not represented by counsel, the individual shall
 comply with the provisions of this Order.
                                                  -2-
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 parties have settled the case; 2.) the parties have not settled the case but wish to

 continue settlement discussions for a specific period of time; 3.) the parties wish to

 engage in a formal mediation conference before a specific mediator on or before a

 specific date; 4.) either party requests a settlement conference before the United States

 Magistrate Judge who, upon settlement, may issue a Report and Recommendation

 advising whether the Court should approve the settlement as a “fair and reasonable

 resolution of a bona fide dispute” over FLSA issues without additional filings made

 by the parties. See Lynn's Food Stores, Inc. v. United States, 679 F.2d 1350, 1354-55

 (11th Cir. 1982); or 5.) the parties have exhausted all settlement efforts and will

 immediately file a Uniform Case Management Report3 signed by counsel for all

 parties.

        6.    The parties may consent to the conduct of all further proceedings in this

 case by the United States Magistrate Judge (consent form attached). Absent consent,

 the Magistrate Judge shall prepare a report and recommendation as to whether any

 settlement is a 'fair and reasonable resolution of a bona fide dispute' over FLSA issues.

 See Lynn’s Food Stores, Inc. v. United States, 679 F.2d 1350, 1354-55 (11th Cir.

 1982);.

        7.    Until the parties file the Case Management Report, all discovery in this

 case is STAYED, except as provided in this Order.

        8.    In the event that no settlement is reached pursuant to these procedures,

 and this Court later grants a motion permitting notice to be sent to similarly situated




        3
         A copy of the Uniform Case Management Report form is available                 at
 https://www.flmd.uscourts.gov/sites/flmd/files/forms/flmd-uniform-case-management-
 report.docx
                                           -3-
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 individuals advising them of their right to opt-in to this action, the limitations period

 for any person receiving notice shall be tolled during the period from the date of this

 Order until the parties file a Case Management Report lifting the stay on these

 proceedings.

       9.       Should the parties settle the dispute at any later time, they shall

 immediately advise the Court as required by Local Rule 3.09(a) and promptly submit

 a joint motion to approve the settlement.

       10.      Due to the volume of cases based on the FLSA, the Court expects strict

 adherence to these deadlines. Exceptions will be granted only for compelling reasons.

 Failure to comply may result in the imposition of sanctions, including but not limited

 to the dismissal of the case and the striking of pleadings.

       11.      Either party, for good cause shown, may move to alter this schedule

 should the circumstances so warrant.

       DONE and ORDERED in Tampa, Florida, this 28th day of July 2021.




 Copies furnished to:
 Counsel of Record
 Unrepresented Parties




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                   COURT’S INTERROGATORIES TO PLAINTIFF

 1.    During what period of time were you employed by the Defendant?

 2.    Who was your immediate supervisor?

 3.    Did you have a regularly scheduled work period? If so, specify.

 4.    What was your title or position? Briefly describe your job duties.

 5.    What was your regular rate of pay?

 6.    What is the nature of your claim (check all that apply)?

       _____Off the clock work (Defendant failed to record, or prohibited you from
             recording, all of your working time);

       _____Misclassification (Defendant mistakenly classified you as exempt from
       overtime);

       _____Miscalculation (Defendant failed to correctly calculate your compensation);

       _____Other (Please describe):
             ___________________________________________________________

              ___________________________________________________________



 7.    Provide an accounting of your claim, including:

       (a)    dates

       (b)    regular hours worked

       (c)    over-time hours worked

       (d)    pay received versus pay claimed

       (e)    total amount claimed


 8.    If you have brought this case as a collective action:

       (a)    Describe the class of employees you seek to include in this action.
       (b)    Has an opt-in notice been filed for every potential opt-in Plaintiff who has
              identified himself or herself as a person who wishes to join this action?

 9.    Please specify all attorney's fees and costs incurred to date. With respect to
       attorney's fees, please provide the hourly rate(s) sought and the number of hours
       expended by each person who has billed time to this case.
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 10.    When did you (or your attorney) first complain to your employer about alleged
        violations of the FLSA?

 11.    Was this complaint written or oral? (If a written complaint, please attach a copy).

 11.    Was this complaint written or oral? (If a written complaint, please attach a copy).

 12.    What was your employer’s response? (If a written response, please attach a          copy).


                                              ________________________________
                                              (Plaintiff Name)


 STATE OF FLORIDA
 COUNTY OF ___________


         The foregoing instrument was acknowledged before me by means of ____ physical presence
 or ____ online notarization, who being first duly sworn, deposes and says that he has read the
 foregoing Answers to Interrogatories, knows the contents of same, and to the best of his knowledge
 and belief, the same are true and correct.


                                                      ____________________________________

                                                      Signature of Affiant



        SWORN TO (or affirmed) AND SUBSCRIBED before me by means of ____ physical
 presence or ____ online notarization, this _______ day of __________________________20___, by
 ___________________________ (name of person making statement).

                                                      NOTARY PUBLIC

 Personally Known OR Produced Identification

 Type of Identification Produced: COPY ATTACHED

                                                      ____________________________________
                                                      Signature of Person Taking Acknowledgment
 Notary Stamp                                         Print Name:
                                                      Title: Notary Public
                                                      Serial No. (if any):
                                                      Commission Expires:




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AO 85 (Rev. 01/09) Notice, Consent, and Reference of a Civil Action to a Magistrate Judge



                                   UNITED STATES DISTRICT COURT
                                                                       for the
                                                           Middle District of Florida

              MELANIE NICOLE MOORE                                          )
                               Plaintiff                                    )
                      v.                                                    )     Civil Action No.        8:20-cv-2184-MSS-SPF
          POOCHES OF LARGO, INC., et al.                                    )
                              Defendants                                    )


        NOTICE, CONSENT, AND REFERENCE OF A CIVIL ACTION TO A MAGISTRATE JUDGE


       Notice of a magistrate judge’s availability. A United States magistrate judge of this court is available to conduct all
proceedings in this civil action (including a jury or nonjury trial) and to order the entry of a final judgment. The judgment
may then be appealed directly to the United States court of appeals like any other judgment of this court. A magistrate
judge may exercise this authority only if all parties voluntarily consent.

       You may consent to have your case referred to a magistrate judge, or you may withhold your consent without
adverse substantive consequences. The name of any party withholding consent will not be revealed to any judge
who may otherwise be involved with your case.

       Consent to a magistrate judge’s authority. The following parties consent to have a United States magistrate judge
conduct all proceedings in this case including trial, the entry of final judgment, and all post-trial proceedings.

              Parties’ printed names                                 Signatures of parties or attorneys                     Dates




                                                                Reference Order
        IT IS ORDERED: This case is referred to a United States magistrate judge to conduct all proceedings and
order the entry of a final judgment in accordance with 28 U.S.C. § 636(c) and Fed. R. Civ. P. 73.


Date:
                                                                                               District Judge’s signature




                                                                                                Printed name and title


Note: Return this form to the clerk of court only if you are consenting to the exercise of jurisdiction by a United
States magistrate judge. Do not return this form to a judge.
